        Case 8:05-cr-00154-SDM-TBM Document 152 Filed 12/18/06 Page 1 of 9 PageID 442
A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                      CASE NUMBER:        8:05-cr- 154-T-23TBM
                                                                      USM NUMBER:         10111-033



JONATHON R. COUNTS
                                                                       Defendant's Attorney: Kevin J. Darken, ret

THE DEFENDANT:

 X pleaded guilty to counts ONE and SIXTEEN of the Indictment.


TITLE & SECTION                           NATURE OF OFFENSE                             OFFENSE ENDED                      COUNT

18 U.S.C. 5 371                           Conspiracy to Steal United States Mail        December 2 1, 2004                 ONE

18 U.S.C. 5 1708 and 2                    Possession of Stolen Mail                     November 20, 2000                  SIXTEEN


        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
c ircurnstances .


                                                                                        Date of Imposition of Sentence: December 15, 2006




                                                                                                                                            I


                                                                                                                *,
                                                                                             STEVEN D. MERRYDAY
                                                                                        UNITED STATES DISTRICT JUDGE

                                                                                        DATE: December      1       2006
      Case 8:05-cr-00154-SDM-TBM Document 152 Filed 12/18/06 Page 2 of 9 PageID 443
A 0 2458 (Rev 06/05) Sheet 2 - hprisonment (Judgment in a Criminal Case)
Defendant:          JONATHON R. COUNTS                                                                      Judgment - Page 2 of 7
Case No. :          8:05-cr-154-T-23TBM

                                                               IMPRISONMENT

                 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of THIRTY-THREE as to Counts One and Sixteen, both terms to run concurrently.                The
sentence reflects an adjustment under the provisions of USSG 5 5G1.3 for the four (4) months period of incarceration already
served on the undischarged term of imprisonment imposed in Case Number 05CR2665. The terms of imprisonment imposed
by this judgment shall run concurrently with the defendant's term of imprisonment imposed pursuant to the judgment in Docket
Number 05CR.2665, Circuit Court of Jefferson County, Kentucky.




 X The court makes the following recommendations to the Bureau of Prisons: (1) incarceration at FPC Butner, NC and (2)
participation in the 500-Hour Comprehensive Drug Treatment Program while incarcerated.



-
X The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.

           - at - a.m.1p.m. on -.
           - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

           -before 2 p.m. on -.
           - as notified by the United States Marshal.
           - as notified by the Probatio~lor Pretrial Services Office.




                                                                      RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                 to

-     at                                                                         , with a certified copy of this judgment.



                                                                                        United States Marshal


                                                                                        Deputy United States Marshal
        Case 8:05-cr-00154-SDM-TBM Document 152 Filed 12/18/06 Page 3 of 9 PageID 444

A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            JONATHON R. COUNTS                                                                           Judgment - Page 3 of 76
Case No. :            8:05-cr-154-T-23TBM
                                                              SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of THIRTY-SIX (36) MONTHS
as to Counts One and Sixteen, both terms to run concurrently.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 5 921.

           The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

           The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
           the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
           month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

           thc defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall rcfrain from excessive use of alcohol and shall not purchase, possess, usc, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, cxcept as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associatc with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.
        Case 8:05-cr-00154-SDM-TBM Document 152 Filed 12/18/06 Page 4 of 9 PageID 445

A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:           JONATI-ION R. COUNTS                                                               Judgment - Page 4 of 7
Case No. :           8:05-cr- 154-T-23TBM
                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:

           The defendant shall participate in a program (outpatient and/or inpatient) for treatment of narcotic addiction or drug or alcohol
           dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program
           may include testing for the detection of substance use or abuse not to exceed an amount determined reasonable by the
           Probation Office's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol dependency
           treatment program, the defendant is directed to submit to testing for the detection of substance use or abuse not to exceed 104
           times per year.
           The defendant shall participate in a mental health treatment program and follow the probation officer's instructions regarding
           the implementation of this court directive. Further, the defendant shall be required to contribute to the costs of services for
           such treatment in an amount determined reasonable by the probation officer based on ability to pay or availability of third
           party payment and in conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.
           The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, acquisitions or
           obligating himself for any major purchases without approval of the probation officer.
           The defendant shall provide the probation officer access to any requested financial information.
        Case 8:05-cr-00154-SDM-TBM Document 152 Filed 12/18/06 Page 5 of 9 PageID 446
A -0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)
    -




Defendant:            JONATHON R. COUNTS                                                                Judgment - Page 5--   of 7
Case No. :            8:05-cr-154-T-23TBM

                                                  CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                                 -
                                                                            Fine                        Total Restitution

           Totals:               $200.00                                    $ waived                    $286,734.39
  X        The defendant must make restitution to the following payees in the amount listed below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U. S .C. $
           3664(i), all non-federal victims must be paid before the dnited States.

Name of Pavee                                         Total Loss*                      Restitution Ordered               Priority or Percentage
Bank of America
Recove Service Department
~ 0 2103-09-
       -    19
P.O. Box 790087
St. Louis, MO 63197
BB&T Bank
Corporate Investigations
Attn: Tina Bowman
P.O. Box 1220
Winston Salem, NC 27102- 1220
SunTrust
Pat Kumper
919 E. Main St.
Richmon, VA 23219
Wachovia Bank
Restitution Coordinator
P.O. Box 2818
Huntersville, NC 28070
Bank of America
Gary Collins
Corporate Security , Mail Code FL00800-01-04
390 N. Orange Ave.
Orlando, FL 32801
Wachovia Bank
George Twidell
AMSouth Bank
Roderick Frankland
V. P. Corporate Security
13535 Feather Sound Dr.
Clearwater, FL 33762
Colonial Bank
       Ann Brown
Y a 4 t . h St. North
St. Petersburg, FL 33704
Wachovia Bank
Restitution Coordinator
P.O. Box 2818
Huntersville, NC 28070

Suntrust Bank                                                                               23,808.00
Pat Kum er
919 E. d i n St
Richmond, VA' 23219
A 0 245B (Rev 06/05) Sheet 5a - Criminal Monetary Penalties (Judgment in a Criminal Case)
        Case 8:05-cr-00154-SDM-TBM Document 152 Filed 12/18/06 Page 6 of 9 PageID 447
A 0 2458 (Rev 06/05) Sheet 5a - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:           JONATNON R. COUNTS                                                              Judgment - Page 6of 7
Case No. :           8:05-cr-154-T-23TBM
Criminal Monetary Penalties Continuation Page:
Name of Pavee                                        Total Loss*                     Restitution Ordered        Priority or Percentage
BB&T
Corporate Investigations
Attn: Tina Bowman
P.O. Box 1220
Winston Salem, NC 27 102-1220
First Citizens
John R. Francis, Jr.
Executive VP
110 Church Ave.
Roanoke, VA
                                Totals:              lL                               $ 286,734.39


 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fme or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                 - restitution.
           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 1 10, 1lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23. 1896.
        Case 8:05-cr-00154-SDM-TBM Document 152 Filed 12/18/06 Page 7 of 9 PageID 448

A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:           JONATHON R. COUNTS                                                      Judgment - Page 7of 7
Case No. :           8:05-cr-154-T-23TBM


                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

             X        Lump sum payment of $ 200.00 (special assessment) due immediately, balance due
                                 -not later than                          , or

                                 -in accordance - C, - D, - E or - F below; or
           -          Payment to begin immediately (may be combined with -C, -D, or -F below); or
           -          Payment in equal                  (e. g ., weekly, monthly, quarterly) installments of $              over a
                      period of          (e.g ., months or years), to commence                days (e.g ., 30 or 60 days) after the
                      date of this judgment; or
           -          Payment in equal                (e.g., weekly, monthly, quarterly) installments of $               over a
                      period of
                                   , (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                      from imprisonment to a term of supervision; or
           -       Payment during the term of supervised release will commence within                          (e-g., 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
           the defendant s ability to pay at that time, or
             X        Special instructions regarding the payment of criminal monetary penalties:
                      RESTITUTION: $286.734.39. While in the Bureau of Prisons custody, the defendant shall either (1) pay
                      at least $25 quarterly if the defendant has a non-Unicor job or (2) pay at least 50% of his or her monthly
                      earnings if the defendant has a Unicor job. U on release from custody, the defendant shall pay restitution
                                                                                 d'
                      at the rate of $150 per month. At any time uring the course of post-release su ervision, the victim, the
                                                                                                              B
                      government, or the defendant, may notify the Court of a material change in the efendant's ability to pay,
                      and the Court may adjust the payment schedule accordingly.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
iureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
X          Joint and Several
           Defendant, Jonathon R. Counts (I), Case No. 8:05-cr- 154-T-23TBM - $286,734.39
           Co-defendant, Donald Hicklin, Jr. (2), Case No. 8:05-cr-154-T-23TBM
           Co-defendant, Jarvis 2. Wright (3), Case No. 8:05-cr- 154-T-23TBM

-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
X
-          The defendant shall forfeit the defendant's interest in the following property to the United States:
           $338,285.00 USD, pursuant to the Forfeiture Money Judgment attached (Doc. 151).

Payments shall be applied in the following order: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) fine interest. (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
Case 8:05-cr-00154-SDM-TBM Document 152 Filed 12/18/06 Page 8 of 9 PageID 449

    Case 8:05-cr-OOI54-SDM-TBM          Document 151       Filed 1211512006    Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

    UNITED STATES OF AMERICA,

          Plaintiff,

    V.                                        :   CASE NO.: 8:05-ct-I 54-T-23TBM

    JONATHON R. COUNTS,

          Defendant.


                             FORFEITURE MONEY JUDGMENT

          THIS CAUSE comes before the Court on Motion of the United States of America

    for Entry of a Forfeiture Money Judgment in the amount of $338,285.00 USD, which,

    upon entry, shall be a final order of forfeiture as to defendant Jonathon R. Counts. The

    Court, being fully advised in the premises, hereby finds as follows:

          1.      That the amount of funds obtained by defendants as a result of defendant

    Jonathon Counts' participation in the conspiracy to commit bank fraud, contrary to the

    provisions of 18 U.S.C. 5 1344, in violation of 18 U.S.C. 5 371, charged in Count One of

    the Indictment, is $338,285.00 USD.

          2.      That pursuant to his plea agreement, defendant Jonathon R. Counts pled

    guilty to Counts One and Sixteen of the Indictment and agreed to the entry of a

    forfeiture money judgment in the amount of $338,285.00 USD, pursuant to the

    provisions of 18 U.S.C. 3 982(a)(2)(A).

          ORDERED, ADJUDGED and DECREED that the United States' motion is

    GRANTED.
Case 8:05-cr-00154-SDM-TBM Document 152 Filed 12/18/06 Page 9 of 9 PageID 450

     Case 8:05-cr-OOI54-SDM-TBM          Document 151       Filed 1211512006      Page 2 of 2



           It is FURTHER ORDERED that, based on his participation in the conspiracy

     charged in Count One, defendant Jonathon R. Counts is jointly and severally liable to

     the United States of America for a forfeiture money judgment in the amount of

     $338,285.00 USD, pursuant to the provisions of 18 U.S.C. § 982(a)(Z)(A).

           The Court shall retain jurisdiction to enter any orders necessary for the forfeiture

     and disposition of any property, belonging to the defendant, that the United States is

     entitled to seek as substitute assets up to the amount of such forfeiture money

     judgment, and to entertain any third party petitions that may be filed in those

     proceedings.

           DONE and ORDERED in Chambers in Tampa, Florida, this                        day of




                                              HON. STEVEN D. MERRYDAY      '
                                              UNITED STATES DISTRICT JUDGE


     Copies to: Anita M. Cream, AUSA
                Attorneys of Record
